            Case 1:17-cv-01000-RC Document 1 Filed 05/24/17 Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                   )
THE PROTECT DEMOCRACY PROJECT, )
INC.                               )
2020 Pennsylvania Avenue, NW, #163 )
Washington, DC 20006,              )
                                   )
             Plaintiff,            ) Civil Action No.
                                   )
      v.                           )
                                   )
U.S. NATIONAL SECURITY AGENCY      )
9800 Savage Road                   )
Fort Meade, MD 20755,              )
                                   )
             Defendant.            )
                                   )
                                   )

                                         COMPLAINT

       Plaintiff The Protect Democracy Project, Inc. (hereinafter “Protect Democracy”) brings

this action against Defendant the National Security Agency to compel compliance with the

Freedom of Information Act (FOIA), 5 U.S.C. § 552. Plaintiff alleges as follows:

                                JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

       2.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B).

                                            PARTIES

       3.      Plaintiff The Protect Democracy Project, Inc. is an organization awaiting

501(c)(3) status, incorporated under the laws of the District of Columbia, and located at 2020

Pennsylvania Avenue, NW, #163, Washington, DC 20006. Plaintiff’s mission is to protect our

democracy from descending into a more autocratic form of government by preventing those in



                                                                                                 1
            Case 1:17-cv-01000-RC Document 1 Filed 05/24/17 Page 2 of 7



power from depriving Americans of a free, fair, and fully-informed opportunity to exercise

ultimate sovereignty. As part of this mission, Plaintiff seeks to inform public understanding of

operations and activities of the government by gathering and disseminating information that is

likely to contribute significantly to the public understanding of executive branch operations and

activities. Plaintiff regularly requests such information pursuant to FOIA. Plaintiff intends to

give the public access to documents transmitted via FOIA on its website,

www.protectdemocracy.org, and to provide information about and analysis of those documents

as appropriate.

       4.         Defendant U.S. National Security Agency (NSA) is an agency of the executive

branch of the federal government of the United States. Defendant NSA is headquartered at 9800

Savage Rd., Fort Meade, MD 20755. Defendant has possession, custody, and control of the

documents that Plaintiff seeks in response to its FOIA request.

                                     STATEMENT OF FACTS

President Trump’s Apparent Attempts to Interfere in the FBI’s Investigation of His Campaign’s
                     Role in Russian Interference in the 2016 Election

       5.         On January 6, 2017, the United States intelligence community (IC) released a

report entitled “Assessing Russian Activities and Intentions in Recent US Elections.” The

declassified version of the report includes an “analytic assessment drafted and coordinated

among The Central Intelligence Agency (CIA), The Federal Bureau of Investigation (FBI), and

The National Security Agency (NSA).” In the report, the agencies, including the NSA,

“assess[ed] Putin and the Russian Government aspired to help President-elect Trump’s election

chances when possible by discrediting Secretary Clinton and publicly contrasting her

unfavorably to him.”

       6.         On March 20, 2017, FBI Director James Comey confirmed in testimony before



                                                                                                    2
             Case 1:17-cv-01000-RC Document 1 Filed 05/24/17 Page 3 of 7



the House Intelligence Committee that the FBI was investigating Russian interference in the

2016 election and any coordination between Russia and the campaign of President Donald

Trump. Comey stated that he had “been authorized by the Department of Justice to confirm that

the FBI, as part out our counterintelligence mission, is investigating the Russian government’s

efforts to interfere in the 2016 presidential election and that includes investigating the nature of

any links between individuals associated with the Trump campaign and the Russian government,

and whether there was any coordination between the campaign and Russia’s efforts.”

       7.       On May 9, President Trump fired FBI Director James Comey. In his note to

Comey, Trump stated: “I greatly appreciate you informing me, on three separate occasions, that I

am not under investigation.”

       8.       On May 10, Trump met in the Oval Office with officials of the Russian

government, including Ambassador Sergey I. Kislyak and Foreign Minister Sergei V. Lavrov.

Upon information and belief, a document summarizing the meeting states that Trump told the

Russian officials: “I just fired the head of the F.B.I. He was crazy, a real nut job.” That

document further states that Trump said in the meeting: “I faced great pressure because of

Russia. That’s taken off.”

       9.       In a television interview on May 11, 2017, Donald Trump told journalist Lester

Holt that he had decided to fire Comey before meeting with Attorney General Jeff Sessions and

Deputy Attorney General Rod Rosenstein to discuss whether to fire Comey. According to

Trump: “And in fact when I decided to just do it, I said to myself, I said you know, this Russia

thing with Trump is a made up story.”

       10.      On May 22, 2017, the Washington Post published an article by journalists Adam

Entous and Ellen Nakashima entitled “Trump asked intelligence chiefs to push back against FBI




                                                                                                       3
             Case 1:17-cv-01000-RC Document 1 Filed 05/24/17 Page 4 of 7



collusion probe after Comey revealed its existence.” The article states: “President Trump asked

two of the nation’s top intelligence officials in March to help him push back against an FBI

investigation into possible coordination between his campaign and the Russian government,

according to current and former officials.” It explains that “Trump made separate appeals to the

director of national intelligence, Daniel Coats, and to Adm. Michael S. Rogers, the director of

the National Security Agency, urging them to publicly deny the existence of any evidence of

collusion during the 2016 election.”

       11.      The article further states: “Trump’s conversation with Rogers was documented

contemporaneously in an internal memo written by a senior NSA official, according to the

officials.” At a minimum, the referenced memo should now be easy to find and produce, and it

is of paramount public interest as it may represent an attempt by the President to use the powers

of the intelligence community to interfere in an investigation into his or his associates’ own

potential wrongdoing.

                             FOIA to NSA and Agency’s Failure to Respond

       12.      On April 21, 2017, Plaintiff sent a FOIA request to Defendant NSA seeking the

following records:

           Pursuant to the Freedom of Information Act (FOIA), 5 U.S.C. § 552, The Protect
       Democracy Project hereby requests that your office produce within 20 business days the
       following records (see below for clarity on the types of records sought):

       1) All records, including but not limited to emails, notes, and memoranda, reflecting,
       discussing, or otherwise relating to communications between the National
       Security Agency and the Executive Office of the President regarding contacts
       between individuals connected with the Russian government and individuals
       connected with the Trump campaign or the Trump administration, and/or Russian
       involvement with, or attempts to influence or interfere with, the national election
       of November 2016.

       2) All records, including but not limited to emails, notes, and memoranda, reflecting,
       discussing, or otherwise relating to talking points or other communications with



                                                                                                    4
             Case 1:17-cv-01000-RC Document 1 Filed 05/24/17 Page 5 of 7



       the public or the media regarding contacts between individuals connected with the
       Russian government and individuals connected with the Trump campaign or the
       Trump administration, and/or Russian involvement with, or attempts to influence
       or interfere with, the national election of November 2016.

       3) All records, including but not limited to emails, notes, and memoranda, reflecting,
       discussing, or otherwise relating to communications between the National
       Security Agency and the House Permanent Select Committee on Intelligence
       (HPSCI) and/or the Senate Select Committee on Intelligence (SSCI), and/or
       Representative Devin Nunes, Representative Adam Schiff, Senator Richard Burr,
       Senator Mark Warner, and/or any other members or staff of HPSCI or SSCI,
       regarding contacts between individuals connected with the Russian government and
       individuals connected with the Trump campaign or the Trump administration,
       and/or Russian involvement with, or attempts to influence or interfere with, the
       national election of November 2016.

       4) All calendars, agendas, manifests, schedules, notes, lists of attendees, or other
       records reflecting or relating to meetings regarding contacts between individuals
       connected with the Russian government and individuals connected with the
       Trump campaign or the Trump administration, and/or Russian involvement with,
       or attempts to influence or interfere with, the national election of November 2016.

       5) In addition to the records requested above, we also request records describing the
       processing of this request, including records sufficient to identify search terms
       used and locations and custodians searched, and any tracking sheets used to track
       the processing of this request. If your agency uses FOIA questionnaires or
       certifications completed by individual custodians or components to determine
       whether they possess responsive materials or to describe how they conducted
       searches, we also request any such records prepared in connection with the
       processing of this request.

       The timeframe for this request is July 1, 2016 through the date that searches are
       conducted for records responsive to this FOIA request.

See Exhibit A (NSA FOIA request).

       13.      Plaintiff also requested a fee waiver pursuant to 5 U.S.C. § 552(a)(4)(A)(iii) or 5

U.S.C. § 552(a)(4)(A)(ii)(II). See Exhibit A.

       14.      Plaintiff’s request was submitted to the NSA by fax on April 21, 2017.

       15.      Plaintiff received a letter from Defendant NSA dated May 1, 2017. The NSA

letter stated that Plaintiff’s FOIA request had been received on April 24, 2017. See Exhibit B. It




                                                                                                      5
                Case 1:17-cv-01000-RC Document 1 Filed 05/24/17 Page 6 of 7



further stated: “This letter acknowledges that we have received your request and provides some

administrative information.” It explained “we are experiencing delays in processing” and that

“[w]e will begin to process your request and will respond to you again as soon as we are able.”

The NSA response letter noted that “we have not addressed . . . your request for a fee waiver at

this time.”

          16.      Pursuant to FOIA, within 20 business days of receipt of Plaintiff’s request – that

is, no later than May 22, 2017 – Defendant was required to “determine . . . whether to comply

with such request” and to “immediately notify” Plaintiff of “such determination and the reasons

therefor,” and, in the case of an adverse determination, Plaintiff’s appeal rights. 5 U.S.C. §

552(a)(6)(A)(i).

          17.      To date, Defendant has failed to make the required determination and

notifications. Nor has Defendant made a determination regarding Plaintiff’s request for a fee

waiver.

                                               COUNT I
                                  (Violation of FOIA, 5 U.S.C. § 552)

          18.      Plaintiff re-alleges and incorporates by reference all preceding paragraphs.

          19.      Defendant is in violation of FOIA by failing to respond to Plaintiff’s request

within the statutorily prescribed time limit and by unlawfully withholding records responsive to

Plaintiff’s request.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that the Court:

          (1) Order Defendant, by a date certain, to conduct a search that is reasonably likely to

lead to the discovery of any and all records responsive to Plaintiff’s request;

          (2) Order Defendant, by a date certain, to demonstrate that it has conducted an adequate



                                                                                                        6
             Case 1:17-cv-01000-RC Document 1 Filed 05/24/17 Page 7 of 7



search;

          (3) Order Defendant, by a date certain, to produce to Plaintiff any and all non-exempt

records or portions of records responsive to Plaintiff’s request, as well as a Vaughn index of any

records or portions of records withheld due to a claim of exemption;

          (4) Enjoin Defendant from improperly withholding records responsive to Plaintiff’s

request;

          (5) Order Defendant to grant Plaintiff’s request for a fee waiver;

          (6) Grant Plaintiff an award of attorney fees and other reasonable litigation costs pursuant

to 5 U.S.C. § 552(a)(4)(E); and

          (7) Grant Plaintiff such other relief as the Court deems appropriate.



                                                Respectfully submitted,

Date: May 24, 2017                              /s/ Michael P. Abate

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